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                                                                          USDC SDNY
UNITED STATES DISTRICT COURT                                             DOCUMENT
SOUTHERN DISTRICT OF NEW YORK
                                                                          ELECTRONICAT.LY FILED ·
ENVIRONMENTAL ruSTICE
HEALTH ALLIANCE FOR
CHEMICAL POLICY REFORM;
                                                                         ~~~:~!LED:           spyzc
CLEAN WATER ACTION; and
NATURAL RESOURCES DEFENSE
COUNCIL, INC.,                                           19 Civ. 2516 (VM)

                Plaintiffs,                              CONSENT DECREE

                     V.

UNITED STATES
ENVIRONMENTAL PROTECTION
AGENCY; and ANDREW WHEELER,
in her official capacity as Administrator
of the United States Environmental
Protection Agency,

                Defendants.

       WHEREAS, on March 21, 2019, Plaintiffs Environmental Justice Health Alliance for

Chemical Policy Reform, Clean Water Action, and Natural Resources Defense Council, Inc.

(collectively "Plaintiffs") filed the above-captioned matter against the United States

Environmental Protection Agency ("EPA") and Andrew R. Wheeler, in his official capacity as

Administrator of the EPA (collectively "Defendants");

       WHEREAS, Plaintiffs allege that EPA had a duty under Clean Water Act ("CWA")

section 311 G)(5)(A)(i), 33 U.S.C. § 132l(j)(5)(A)(i), to issue regulations that require an owner

or operator of a non-transportation-related onshore "facility described in subparagraph (C) to

prepare and submit to the President a plan for responding, to the maximum extent practicable, to

a worst case discharge, and to a substantial threat of such a discharge, of ... a hazardous

substance" (the "Hazardous Substance Worst Case Discharge Planning Regulations") by August

18, 1992 (ECF No. 1, Compl. ,r,i 23, 25, 29, 30);
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        WHEREAS, Plaintiffs allege that EPA failed to comply with this alleged mandatory duty

(Compl. 'j['j[ 34, 45);

        WHEREAS, the relief requested in the Complaint includes an order from this Court to

compel EPA to promulgate the Hazardous Substance Worst Case Discharge Planning

Regulations (Compl. at 12);

        WHEREAS, Plaintiffs and Defendants have agreed to a settlement of this action without

admission of any issue of fact or law;

        WHEREAS, Plaintiffs and Defendants consider this Consent Decree to be an adequate

and equitable resolution of all the claims in this matter and therefore wish to effectuate a

settlement;

         WHEREAS, Plaintiffs and Defendants agree that this Court has subject matter

jurisdiction sufficient to enter this Consent Decree containing the relief described herein;

         WHEREAS, Plaintiffs and Defendants agree that resolution of this matter without further

litigation is in the best interest of the parties, the public, and judicial economy;

         WHEREAS, the Court, by entering this Consent Decree, finds that the Consent Decree is

fair, reasonable, in the public interest, and consistent with the CWA;

         NOW THEREFORE, before the taking of testimony, without trial or determination of

any issues of fact or law, and upon the consent of Plaintiffs and Defendants, it is hereby

ORDERED, ADWDGED, and DECREED that:

         1.       This Court has jurisdiction to enter this Consent Decree and, pursuant to the

Consent Decree, order the relief stated herein.

         2.       This Consent Decree applies to, is binding upon, and inures to the benefit of the

parties (and their successors, assigns, and designees).



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       3.      No later than 24 months after the Court's entry of this Consent Decree, EPA shall

sign (and within 15 days thereafter transmit to the Office of the Federal Register) a notice of

proposed rulemaking pertaining to the issuance of the Hazardous Substance Worst Case

Discharge Planning Regulations. In addition, EPA shall provide a copy of the notice of proposed

rulemaking to Plaintiffs within 7 days of publication by the Office of the Federal Register.

       4.      No later than 30 months after publication of the proposed Hazardous Substance

Worst Case Discharge Planning Regulations described in Paragraph 3, EPA shall sign (and

within 15 days thereafter transmit to the Office of the Federal Register) a notice taking final

action following notice and comment rulemaking pertaining to the issuance of Hazardous

Substance Planning Regulations. In addition, EPA shall provide a copy of such notice to

Plaintiffs within 7 days of publication by the Office of the Federal Register.

       5.      After publication of notice of the final action required by Paragraph 4 in the

Federal Register, this Consent Decree shall terminate and the action shall be dismissed with

prejudice. Defendants may move the Court for an order reflecting that such termination has

occurred. Plaintiffs shall have 14 days in which to respond to such motion.

       6.      Nothing in this Consent Decree shall be construed as precluding EPA from

issuing proposed or final Hazardous Substance Worst Case Discharge Planning Regulations by a

date earlier than the deadlines established by this Consent Decree.

       7.      The deadlines established by this Consent Decree may be extended (a) by written

stipulation of Plaintiffs and Defendants, or (b) by the Court on a motion of Defendants for good

cause shown pursuant to the Federal Rules of Civil Procedure, and upon consideration of any

response by the Plaintiffs. A modification of deadlines pursuant to subsection (a) of this

paragraph shall be noted by the parties on the docket of this case. A determination by EPA to



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issue a supplemental notice of proposed rulemaking may constitute good cause under this

paragraph. Plaintiffs reserve the right to challenge such a determination by EPA and to oppose

any request for an extension.

       8.      Any provision of this Consent Decree other than a deadline may be modified by

the Court following motion of either Plaintiffs or Defendants for any good cause shown and

upon consideration of any response by the non-moving party.

       9.      In the event of a dispute between Plaintiffs and Defendants concerning the

interpretation or implementation of any aspect of this Consent Decree, the disputing party shall

provide the other party with a written notice outlining the nature of the dispute and requesting

informal negotiations. The parties shall meet and confer in order to attempt to resolve the

dispute. If the parties are unable to resolve the dispute within 14 days after receipt of the notice,

either party may petition the Court to resolve the dispute.

        10.    No motion or other proceeding seeking to enforce this Consent Decree or for

contempt of Court shall be properly filed unless Plaintiffs have followed the procedure set forth

in Paragraph 9 and provided Defendants with written notice received at least 14 days before

filing of such motion or proceeding.

        11.     This Court shall retain jurisdiction over this matter to enforce the terms of this

Consent Decree and to consider any requests for costs of litigation, including attorneys' fees.

        12.    Nothing in the terms of this Consent Decree shall be construed (a) to confer upon

this Court jurisdiction to review any final rule or determination issued by EPA pursuant to this

Consent Decree; (b) to confer upon this Court jurisdiction to review any issues that are within the

exclusive jurisdiction of the United States Courts of Appeals under CWA section 509(b )(1), 33




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U.S.C. § 1369(b)(l); or (c) to waive any claims, remedies, or defenses that the parties may have

under CWA section 509(b)(l), 33 U.S.C. § 1369(b)(l).

       13.      Nothing in this Consent Decree shall be construed to limit or modify any

discretion accorded EPA by the CWA or by general principles of administrative law in taking the

actions which are the subject of this Consent Decree, including the discretion to alter, amend, or

revise any final actions promulgated pursuant to this Consent Decree. EPA's obligation to

perform each action specified in this Consent Decree does not constitute a limitation or

modification of EP A's discretion within the meaning of this paragraph.

          14.   Except as expressly provided herein, nothing in this Consent Decree shall be

construed as an admission of any issue of fact or law. By entering into this Consent Decree,

Defendants and Plaintiffs do not waive or limit any claim, remedy, or defense, on any grounds,

related to any final action EPA takes with respect to the actions addressed in this Consent

Decree.

          15.   The deadline for filing a motion for costs oflitigation (including attorneys' fees)

for activities performed prior to entry of the Consent Decree is hereby extended until 90 days

after this Consent Decree is entered by the Court. Nothing in this paragraph shall be construed

as an admission or concession by Defendants that Plaintiffs are entitled to or eligible for

recovery of any costs or attorneys' fees.

          16.   Plaintiffs reserve the right to seek additional costs of litigation, including

attorneys' fees, incurred subsequent to the entry of this Consent Decree and arising from

Plaintiffs' need to enforce or defend against efforts to modify its terms or the underlying

schedule outlined herein, or for any other unforeseen continuation of this action. Defendants

reserve the right to oppose any such request. For purposes of this paragraph, costs oflitigation do



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not include costs or attorneys' fees associated with Plaintiffs' participation in any administrative

proceedings contemplated by this Consent Decree.

          17.   It is hereby expressly understood and agreed that this Consent Decree was jointly

drafted by Plaintiffs and Defendants. Accordingly, the parties hereby agree that any and all rules

of construction to the effect that ambiguity is construed against the drafting party shall be

inapplicable in any dispute concerning the terms, meaning, or interpretation of this Consent

Decree.

          18.   Any notices required or provided for by this Consent Decree shall be in writing,

via electronic mail or certified mail, and sent to each of the following counsel (or to any new

address of the parties' counsel as filed and listed in the docket of the above-captioned matter, at a

future date):

                a. For Plaintiffs:

                Kaitlin Morrison
                Natural Resources Defense Council
                40 West 20th Street
                New York, NY 10011
                E-mail: kmorrison@nrdc.org

                Jared E. Knicley
                Natural Resources Defense Council
                1152 15th Street NW, Suite 300
                Washington, DC 20005
                Email: iknicley@nrdc.org

                b. For Defendants:

                Charles S. Jacob
                Assistant United States Attorney
                86 Chambers Street, 3rd Floor
                New York, New York 10007
                Email: charlcs. jacob(al,usdoj.gov




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               Richard Albares
               EPA Office of General Counsel
               Mail Code 2366A
               1200 Pennsylvania Ave NW
               Washington, DC 20460
               Email: albores.richard@epa.gov

       19.     Defendants and Plaintiffs recognize and acknowledge that the obligations

imposed upon EPA under this Consent Decree can only be undertaken using appropriated funds

legally available for such purpose. No provision of this Consent Decree shall be interpreted as or

constitute a commitment or requirement that the United States obligate or pay funds in

contravention of the Anti-Deficiency Act, 31 U.S.C. § 1341, or any other applicable provision of

law.

       20.     Defendants and Plaintiffs recognize that the possibility exists that a lapse in

appropriations by Congress could result in an EPA shutdown that in tum could cause a delay of

EPA's compliance with the obligations contained in this Consent Decree. In the event of an EPA

shutdown that exceeds 7 days, EPA may invoke this paragraph and automatically extend the next

applicable deadline in this Consent Decree by one day for each day of the EPA shutdown.

Notwithstanding the prior sentence, in the event of an EPA shutdown within 180 days of a

deadline set forth in this Consent Decree, EPA may invoke this paragraph and automatically

extend such deadline one day for each day of the EPA shutdown, regardless of the length of any

such EPA shutdown. To invoke its rights to an automatic extension as set forth in this paragraph,

EPA must provide Plaintiffs and the Court with notice no later than 10 days after funding is

restored to the EPA. Any dispute regarding such invocation shall be resolved in accordance with

the dispute resolution provision in Paragraph 9 of this Consent Decree. Nothing in this paragraph

shall preclude EPA from seeking any other extension, either by stipulation or court order,

pursuant to the procedures of Paragraph 7 above, including on the ground that an EPA shutdown


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constitutes good cause for an extension, nor limit Plaintiffs' right to oppose any such request for

an additional extension.

       21.     This Consent Decree shall become effective upon the date of its entry by the

Court. If for any reason the Court should decline to approve this Consent Decree in the form

presented, this agreement is voidable at the sole discretion of either party and the terms of the

proposed Consent Decree may not be used as evidence in any litigation between the parties.

       22.     The undersigned representatives of Plaintiffs and Defendants certify that they are

fully authorized by the parties they represent to consent to the Court's entry of the terms and

conditions of this Consent Decree.




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COUNSEL FOR PLAINTIFFS:

Dated: New York, New York
       Match 11, 2020

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COUNSEL FOR DEFENDANTS:

Dated: New York, New York
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                                    VICTOR MARRERO
                                    United States District Judge


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